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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 IN RE GREENSKY SECURITIES LITIGATION              Case No. 18-cv-11071 (AKH)




 JOINT DECLARATION OF STEVEN J. TOLL AND MAX SCHWARTZ IN SUPPORT
  OF MOTIONS FOR FINAL APPROVAL OF THE PROPOSED SETTLEMENT AND
     APPROVAL OF THE PLAN OF ALLOCATION, AND FOR AN AWARD OF
    ATTORNEYS’ FEES AND REIMBURSEMENT OF LITIGATION EXPENSES

   We, Steven J. Toll and Max Schwartz, declare as follows:

   1.      We are partners at Cohen Milstein Sellers & Toll PLLC (“Cohen Milstein”) and Scott

+ Scott Attorneys at Law LLP (“Scott + Scott”), respectively, Co-Lead Counsel for Lead Plaintiffs

Northeast Carpenters Annuity Fund (“Northeast Carpenters”), El Paso Firemen & Policemen’s

Pension Fund (“El Paso”), and Employees’ Retirement System of the City of Baton Rouge and

Parish of East Baton Rouge (“CPERS”) in In re GreenSky Securities Litigation, No 18-cv-11071

(S.D.N.Y.). We have personal knowledge of the facts set forth in this declaration and information

provided to us by others at our firms who worked under our supervision.

   2.      We submit this declaration in support of Lead Plaintiffs’ motion for final approval of

the proposed Settlement and approval of the Plan of Allocation, as well as Co-Lead Counsel’s

motion for an award of attorneys’ fees and reimbursement of Litigation Expenses, including the

expenses of Lead Plaintiffs pursuant to 15 U.S.C. § 77z-1(a)(4). 1 We have supervised and actively

participated in the prosecution of this Action throughout its duration.




   1
    Unless otherwise noted, capitalized terms have the meanings set forth in the Stipulation and
Agreement of Settlement, dated May 24, 2021 (ECF No. 180) (“Stipulation”).
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   3.      This declaration does not seek to detail each and every event that has occurred since

the Action was commenced. Rather, the declaration provides the Court with highlights of the

litigation and the events leading to the Settlement.

   4.      In entering the Settlement, Lead Plaintiffs and Co-Lead Counsel were well-informed

about the strengths and weaknesses of the Action. As detailed below, prior to entering the proposed

Settlement, Co-Lead Counsel: (1) conducted an extensive investigation of all potential claims that

could be asserted against GreenSky, its officers and directors, and its underwriters; (2) filed two

amended complaints based on the results of that investigation; (3) opposed Defendants’ motions

to dismiss through both the submission of extensive briefing and oral argument, resulting in the

Court’s November 26, 2019 order denying the motions to dismiss except as to Lead Plaintiff

CPERS’ claims under Section 12(a)(2) of the Securities Act of 1933; (4) negotiated a proposed

case management order, protective order, protocol for the production of electronically-stored

information (“ESI”), and remote deposition protocol; (5) filed a motion for class certification and

negotiated the terms of a proposed order granting class certification; (6) coordinated mailing and

publication of notice of pendency of the Action to Class Members; (7) negotiated the scope of

Lead Plaintiffs’ document production, and reviewed and produced documents to Defendants; (8)

prepared for and defended the depositions of representatives of each of the three Lead Plaintiffs;

(9) engaged in negotiations with counsel for Defendants to obtain an agreement on the documents

to be produced by Defendants, including the custodians to be searched and the search terms to be

used to locate documents; (10) negotiated and reached agreement on certain of Defendants’ claims

of privilege; (11) conducted extensive non-party discovery, including serving subpoenas on

GreenSky’s outside auditor, PricewaterhouseCoopers (“PwC”), and FT Partners, an investment

banking firm that provided GreenSky with consulting services in connection with the GreenSky
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IPO; (12) obtained, reviewed, and analyzed over 5.3 million pages of documents produced by

Defendants and non-parties; (13) negotiated the number and identities of witnesses to be deposed;

(14) prepared for depositions of nine of Defendants’ current and former officers and employees

and conducted depositions of three prior to the Action settling; (15) consulted with non-testifying

experts who assisted Co-Lead Counsel in evaluating damages and loss causation issues; (16)

participated in a fulsome mediation process conducted by Robert A. Meyer, Esq., of Judicial

Arbitration and Mediation Services (“JAMS”), an experienced and highly-respected mediator, 2

which process was preceded by the exchange of detailed written mediation statements by the

Settling Parties; (17) negotiated and drafted appropriate documentation of the Settlement,

including a memorandum of understanding (“MOU”), the Stipulation, a motion for preliminary

approval of the Settlement, and the Notices to be issued to potential Class Members; and (18)

supervised the dissemination of the Notices to Class Members, and prepared final documentation

of the Settlement, including the motion papers filed contemporaneously herewith.

   5.       Based upon our experience, the extensive discovery conducted, our evaluation of the

facts and the applicable law, and our recognition of the risk and expense of continued litigation,

Lead Plaintiffs and Co-Lead Counsel submit that the Settlement is fair, reasonable, and adequate.

In view of all these considerations, Lead Plaintiffs and Co-Lead Counsel believe the Settlement

represents an excellent result, and is in the best interests of the Class, particularly because it

provides a meaningful recovery to the Class now, and avoids substantial delay and the possibility

of recovering nothing due to the risks, expense, and duration of continued litigation.

   6.       From the outset of this Action, Lead Plaintiffs supervised Co-Lead Counsel. Lead

Plaintiffs reviewed pleadings and all material filings, and remained informed throughout the


   2
       See Ex. A, Declaration of Robert A. Meyer (“Meyer Decl.”) ¶¶ 3-5.
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Action. Lead Plaintiffs were also involved in the mediation, and ultimately reviewed and approved

the proposed Settlement. See Ex. B, Declaration of Ian Ruegg, New Jersey Fund Director of the

Northeast Carpenters Annuity Fund (“Northeast Carpenters Decl.”) ¶ 6; Ex. C, Declaration of

Tyler C. Grossman, Executive Director of the El Paso Firemen & Policemen’s Pension Fund (“El

Paso Decl.”) ¶ 6; Ex. D, Declaration of Jeffrey R. Yates, Retirement Administrator of the

Employees’ Retirement System of the City of Baton Rouge and Parish of East Baton Rouge

(“CPERS Decl.”) ¶ 6.

   7.      In addition to seeking final approval of the Settlement, Lead Plaintiffs seek approval of

the proposed Plan of Allocation. Co-Lead Counsel engaged Jeremy Marmer, PhD, CFA, of Global

Economics Group, in preparing the proposed Plan of Allocation. Dr. Marmer has significant

experience in drafting plans of allocation. See Resume of Jeremy Marmer, PhD, CFA, available

at https://www.globaleconomicsgroup.com/wp-content/uploads/Jeremy-Marmer-CV.pdf. Under

the proposed Plan of Allocation, the Settlement Amount (plus interest accrued and after deduction

of Court-approved expenses and attorneys’ fees) will be distributed on a pro rata basis to members

of the Class who timely submit valid Proof of Claim Forms based on their Recognized Loss

amounts as calculated pursuant to the Plan of Allocation.

   8.      Co-Lead Counsel requests an award of attorneys’ fees and reimbursement of Litigation

Expenses. Specifically, Co-Lead Counsel is applying for a fee award of 25% of the Settlement

Fund (or $6,875,000) plus interest, for reimbursement of Co-Lead Counsel’s Litigation Expenses

in the amount of $200,786.46, and for reimbursement of Lead Plaintiffs’ costs and expenses

pursuant to 15 U.S.C. § 77z-1(a)(4) in the amount of $16,092.70.

   9.      Co-Lead Counsel submits that the fee and expense application is fair and reasonable.

As explained in the accompanying brief in support of Co-Lead Counsel’s request for attorneys’
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fees and reimbursement of Litigation Expenses, the requested fee of 25% of the Settlement Fund,

plus interest, is consistent with fees awarded in comparable securities class actions. In addition,

the reasonableness of the fee is further confirmed because an analysis of the lodestar in this Action

would result in Co-Lead Counsel receiving a multiplier of 1.46, which is consistent with

multipliers awarded in comparable securities class actions.

                                 HISTORY OF THE ACTION

   10.     GreenSky is a financial technology company that operates an online platform which

enables third-party businesses to process loan applications at their point of sale. Transaction fees

from processing those applications, which vary by business (or merchant) type and are set in

advance with specific merchants, constitute a significant majority of GreenSky’s revenue.

Historically, GreenSky generally obtained a transaction fee rate averaging around 14% for solar

panel merchants, more than double the average non-solar transaction fee rate of 6.5%.

   11.     In 2018, GreenSky held an IPO, during which Lead Plaintiffs alleged Defendants hid

the impact of a key, risky decision that GreenSky had made roughly two years prior—to shift away

from the profitable solar merchants with their associated higher transaction fees, and instead move

toward the less profitable, significantly lower transaction fee, elective healthcare merchants. In

fact, Lead Plaintiffs alleged, GreenSky’s Offering Documents failed to mention the effect of

GreenSky’s decision to transition from solar to elective healthcare, which had already negatively

impacted the average transaction fee it was recouping from its merchants. This meant, and the

Offering Documents further omitted, that GreenSky was already facing a significant risk that its

substantially lower average transaction fee would likely harm the Company’s profitability, growth,

and EBITDA.

   12.     This Action began on November 27, 2018, when plaintiff Rustam Mustafin filed a class

action complaint in this Court against GreenSky and eight of its officers and directors (“Individual
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Defendants,” and together with GreenSky, “GreenSky Defendants”), as well as Goldman Sachs &

Co. LLC, J.P. Morgan Securities LLC, Morgan Stanley & Co. LLC, Citigroup Global Markets

Inc., Credit Suisse Securities (USA) LLC, Merrill Lynch, Pierce, Fenner & Smith Incorporated,

SunTrust Robinson Humphrey, Inc. (now known as Truist Securities, Inc.), Raymond James &

Associates, Inc., Sandler O’Neill & Partners, L.P., Fifth Third Securities, Inc., and Guggenheim

Securities, LLC (“Underwriter Defendants” and together with the GreenSky Defendants,

“Defendants”). Mr. Mustafin filed his complaint on behalf of a putative class consisting of

purchasers of GreenSky’s Class A common stock pursuant or traceable to GreenSky’s IPO,

asserting claims under Section 11, 12(a)(2), and 15 of the Securities Act of 1933, 15 U.S.C. §§

77k, 77l(a)(2), and 77o.

     13.     On March 29, 2019, following the filing of competing motions for appointment of lead

plaintiff and lead counsel, the Court appointed Northeast Carpenters, El Paso, and CPERS

(collectively, the “Fund Group”) as Lead Plaintiffs, appointed Cohen Milstein and Scott + Scott

as Co-Lead Counsel, and consolidated a related action. ECF No. 76.

I.   Lead Plaintiffs Undertook a Substantial Investigation Prior to Filing the Amended
     Complaints

     14.     Co-Lead Counsel engaged in significant investigative efforts to develop the claims set

forth in this Action and to evaluate Defendants’ possible defenses. Co-Lead Counsel’s

investigation included, inter alia, the following:

     (a)     reviewing and analyzing numerous documents filed by GreenSky with the SEC,

             including the Offering Documents for the Company’s IPO;

     (b)     conducting an in-depth investigation of GreenSky’s business model;

     (c)     preparing to interview, attempting to contact, and interviewing individuals from a list

             of former employees of GreenSky that Co-Lead Counsel researched and compiled
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           through its own investigation, all of whom we believed had personal knowledge of

           transactions and events that were relevant to claims alleged in this Action; and

   (d)     reviewing and analyzing public statements made and distributed by the GreenSky

           Defendants, including, but not limited to, conference calls, earnings announcements,

           and wire and press releases.

   15.     Indeed, Co-Lead Counsel’s investigation, as described above, provided the basis for

detailed factual allegations that GreenSky’s management decided to transition out of the solar

industry and expand into the elective healthcare market by at least early 2016, well before the

Company’s May 2018 IPO, and that the GreenSky Defendants’ statements at the time of the IPO

were false in light of these contemporaneous facts. Co-Lead Counsel expended substantial time

and effort memorializing and then summarizing and organizing the information obtained from its

investigation, as well as aligning first-hand witness accounts with information disclosed in the

Company’s SEC filings and press releases, so that Lead Plaintiffs could allege, among other things,

that: (i) following GreenSky’s decision to exit the solar industry, the Company began to

aggressively reduce its relationships with solar merchants; (ii) as a result, the percentage of solar

transactions drastically dropped from almost 20% of GreenSky’s total business by volume in 2016,

to 4% by the third quarter of 2018; and (iii) given that this material shift was well underway by

the first quarter of 2018—along with the corresponding material trend of declining average

transaction fees—Defendants were required to include this information in the May 2018 Offering

Documents, which were issued well after the end of that quarter and included discussion of, among

other things, the decrease in transaction fees earned per dollar originated, factors contributing to

the transaction fee rate, and the Company’s expansion into elective healthcare. In addition, Co-

Lead Counsel’s analysis of the Offering Documents and related investigation provided the basis
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for detailed factual allegations that the Offering Documents failed to disclose: (i) the outsized role

that solar transaction fee rates had played in elevating GreenSky’s overall transaction fee rates and

the impact of GreenSky’s shifting merchant mix on its transaction fee revenue model; (ii) the

significance of merchant mix to the Company’s profitability and EBITDA; and (iii) that risks

created by GreenSky’s change in strategy, which should have been disclosed to investors, had

already come to fruition. Indeed, Lead Plaintiffs alleged, the undisclosed risks posed by the

expensive and risky decision to shift away from the profitable solar business were already having

a significant, negative impact on GreenSky’s average transaction fee rate, profitability, and

EBITDA in the months leading up to the IPO.

   16.     Co-Lead Counsel conducted an intense and thorough investigation over the course of

many months and discovered highly relevant information related to each of the above that was

essential to sufficiently alleging liability. Notably, Co-Lead Counsel relied upon their creativity

and diligence in order to build Lead Plaintiffs’ case, given that much of the relevant information

was in the hands of Defendants and, therefore, inaccessible to Lead Plaintiffs prior to filing their

amended complaints.

II. The Amended Complaints and the Motions to Dismiss

   17.     Co-Lead Counsel, support staff, and experienced investigators expended considerable

time and effort in conducting the investigation described above, which resulted in the First

Amended Complaint filed on May 20, 2019. ECF No. 85 (“FAC”).

   18.     On June 13, 2019, the GreenSky Defendants and the Underwriter Defendants each filed

motions to dismiss the FAC. ECF Nos. 89, 92. In response to these motions to dismiss, and

consistent with the Court’s prior scheduling order, Lead Plaintiffs filed a Second Amended

Complaint on June 26, 2019. ECF No. 96 (“SAC”).
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   19.      On July 3, 3029, the GreenSky Defendants and the Underwriter Defendants each filed

motions to dismiss the SAC. ECF Nos. 99, 101. Defendants argued in their respective motions to

dismiss that Lead Plaintiffs failed to allege that GreenSky had a duty to disclose the allegedly

omitted information, that GreenSky adequately disclosed that information, and that the alleged

affirmative misrepresentations were puffery, opinion, or accurate statements of historical

performance. In addition, the Underwriter Defendants argued that Lead Plaintiffs’ Section 12(a)(2)

claims failed because Lead Plaintiffs had not pled facts demonstrating that they had standing by

alleging that they bought shares in the GreenSky IPO. Collectively, Defendants filed 48 pages of

briefing in support of their motions (ECF Nos. 100, 102, 109, 111), along with 626 pages of

supporting exhibits (ECF No. 103).

   20.      In response to both motions to dismiss, Lead Plaintiffs filed an omnibus opposition

memorandum, arguing that Defendants omitted material information from the Offering

Documents, that Defendants had an additional affirmative duty to disclose the omitted facts under

Items 303 and 503 of SEC Regulation S-K, that Defendants made actionable affirmative and

material misstatements, and that Lead Plaintiffs had standing to assert their Section 12(a)(2)

claims.

   21.      This Court heard oral argument on the motions to dismiss on November 25, 2019.

During the hearing, the Court asked the parties detailed questions about the SAC and the various

legal issues raised by Defendants’ motions to dismiss. In an oral ruling, the Court denied the

motions to dismiss, with the exception of ruling that CPERS (along with El Paso, whose Section

12(a)(2) claim had been withdrawn) could not bring a claim under Section 12(a)(2) of the

Securities Act.
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   22.     After the Court denied the motions to dismiss, on January 13, 2020, Defendants

answered the SAC, denying all allegations of wrongdoing or liability, and also asserting various

defenses. ECF Nos. 119-20.

   23.     On January 23, 2020, Co-Lead Counsel and Defendants’ Counsel appeared for a case

management conference to discuss the status of the case. During that status conference, the Court

directed the parties to submit a proposed scheduling order for initial non-expert discovery and

Lead Plaintiffs’ motion for class certification. ECF No. 128. Co-Lead Counsel and Defendants’

Counsel met and conferred and agreed on a proposed scheduling order, which the Court entered

on January 27, 2020 (the “Scheduling Order”). ECF No. 126. Under the Scheduling Order, the

Court required the parties to exchange their initial disclosures under Rule 26(a)(1) by February 6,

Lead Plaintiffs to move for class certification by February 21, and Lead Plaintiffs to substantially

complete document production with respect to class certification by February 28. ECF No. 126.

The Court also set the next status conference for March.

   24.     On February 6, 2020, the parties exchanged their Rule 26(a) disclosures.

   25.     On February 21, 2020, Lead Plaintiffs moved for class certification, filing a

memorandum that detailed how the putative class met all the prerequisites of Rules 23(a) and

23(b)(3). ECF Nos. 130-32.

   26.     On May 26, 2020, Co-Lead Counsel and Defendants’ Counsel participated in a

telephonic status conference at which Defendants informed the Court that they would not oppose

class certification. Two days later, the Court entered an Order Regulating Proceedings, directing

the parties to file, by June 1, a proposed class certification order, defining the Class; a proposed

methodology for notifying potential members of the Class; and a timeline for the distribution of

notice of pendency of the Action to Class Members, for the filing of requests for exclusion from
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the Class, and for all other aspects of class certification procedures. ECF No. 142. The Court also

ordered that all written discovery would be completed by August 31, setting a status conference

for September 16 to discuss depositions. Id.

   27.      On June 1, 2020, the Court then granted Lead Plaintiffs’ motion for class certification,

defining the Class as follows:

         All persons and entities who purchased GreenSky Class A common stock pursuant
         and/or traceable to the Registration Statement and Prospectus (the “Offering
         Documents”) issued in connection with Defendant GreenSky, Inc.’s May 25, 2018
         initial public offering and were damaged thereby. Excluded from the Class are
         Defendants; the officers and directors of the Company; members of their immediate
         families; and their legal representatives, heirs, successors or assigns and any entity
         in which Defendants have or had a controlling interest, provided, however, that any
         “Investment Vehicle” shall not be excluded from the Class. Investment Vehicle
         means any investment company or pooled investment fund, including but not
         limited to, mutual fund families, exchange traded funds, fund of funds, and hedge
         funds, in which any of the Underwriter Defendants have, has, or may have a direct
         or indirect interest, or as to which its affiliates may act as an investment advisor,
         but in which any of the Underwriter Defendants alone or together with its respective
         affiliates is not a majority owner or does not hold a majority beneficial interest.

ECF No. 144.

III. Lead Plaintiffs Conducted Substantial Fact Discovery

   28.      Following the Court’s order certifying the Class, the parties then engaged in extensive

fact discovery which included the production of over 4.4 million pages of documents by

Defendants. The documents sought and obtained from GreenSky focused on, among other things,

the Company’s decision to exit the solar industry, the effects of that decision on GreenSky’s

revenue, the Company’s decision to conduct an IPO, and the Company’s decision to allegedly omit

information about those effects in the Offering Documents. The documents sought and obtained

from the Underwriter Defendants focused on, among other things, the due diligence that the

Underwriter Defendants conducted in connection with the IPO.
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   29.     During the review of Defendants’ documents and privilege logs, Co-Lead Counsel

identified certain potentially important documents that were withheld or redacted by Defendants

on the basis of privilege. Co-Lead Counsel and Defendants’ counsel then held extensive meet and

confer sessions, in which Co-Lead Counsel challenged many of Defendants’ privilege claims. In

particular, Defendants withheld or redacted certain communications that involved non-parties,

including FT Partners, an investment banking firm that provided GreenSky consulting services in

connection with its IPO. Co-Lead Counsel researched the law with respect to the propriety of

Defendants’ privilege claims as to such documents, taking the position that the privilege assertions

were improper. During continued negotiations regarding Defendants’ privilege claims, Co-Lead

Counsel raised legal authority supporting their position that the privilege claims were improper,

and Defendants agreed to produce certain of the documents.

   30.     Co-Lead Counsel also conducted third-party discovery. On July 29, 2020, Lead

Plaintiffs served a subpoena on GreenSky’s auditor, PwC, and engaged in numerous meet and

confer discussions with PwC’s counsel to negotiate the scope of PwC’s production in response to

the subpoena.

   31.     During the period when Co-Lead Counsel was pursuing third-party discovery, the

COVID-19 pandemic had led many businesses to close their offices. As a result, Co-Lead Counsel

could not use traditional process to serve subpoenas on certain non-parties and had to explore

alternate methods of service. For example, on November 20, 2020, Co-Lead Counsel served a

subpoena on FT Partners by serving their registered agent, the Secretary of State for the State of

New York. But FT Partners failed to respond to the subpoena. Following Co-Lead Counsel’s

review of previously withheld documents concerning FT Partners, Co-Lead Counsel began

preparations to move to compel FT Partners to comply with the subpoena. After Co-Lead Counsel
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informed Defendants’ Counsel that Lead Plaintiffs intended to seek to compel FT Partners’

compliance with the subpoena, counsel for FT Partners contacted Co-Lead Counsel, stating that

FT Partners would accept service of the subpoena. Co-Lead Counsel then engaged in meet and

confer discussions with counsel for FT Partners to negotiate the scope of FT Partners’ production

in response to the subpoena. Those negotiations were interrupted when the parties reached an

agreement in principle to settle this Action.

   32.     Contemporaneously with various productions of documents by Defendants and non-

parties, Co-Lead Counsel undertook a review of the more than 5.3 million pages of documents

using a process involving direct review and confirmatory review. Co-Lead Counsel conducted an

extremely thorough review of the documents. Indeed, a substantial effort was required to review

and organize the millions of pages of documents produced throughout discovery.

   33.     Co-Lead Counsel’s review process was both rigorous and expedited. Not only was Co-

Lead Counsel focused on obtaining, reviewing, and synthesizing information in order to prepare

for a September 10, 2020 mediation, but the process was also designed to meet the discovery

schedule which ordered that the parties “propose a plan for depositions, identifying potential

witnesses to depose, prior to” a status conference on September 16, 2020. See supra ¶ 26. Co-Lead

Counsel faced a daunting task, given the sheer volume and complexity of the materials that needed

to be reviewed both for the mediation and for discovery purposes. Thorough review and analysis

of the documents was a significant factor with respect to Lead Plaintiffs’ preparation for and

presentation at the mediation. As evidence of the importance and value of this process, Lead

Plaintiffs’ mediation statement included over 30 exhibits in support of their claims, most of which

were gleaned from the multi-million pages of materials obtained.
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   34.        In March 2021, the parties began depositions. Defendants’ Counsel deposed

representatives of each of the three Lead Plaintiffs. At the same time, Co-Lead Counsel began

extensive preparations to depose nine witnesses, including key employees of the Underwriter

Defendants and GreenSky’s senior executives. Co-Lead Counsel deposed three of those witnesses

prior to agreeing to settle the Action, including employees of Goldman Sachs and JP Morgan who

led the underwriting team for the GreenSky IPO. Co-Lead Counsel’s depositions of those

witnesses yielded significant testimony and admissions.

IV. The Settling Parties Engaged in a Thorough and Lengthy Mediation Process

   35.        During the course of the Action, the parties engaged a neutral third-party mediator,

Robert A. Meyer, Esq. of JAMS, and held settlement discussions. Co-Lead Counsel met with the

mediator and Defendants’ counsel via videoconference and teleconference on multiple occasions

over the course of more than six months. In advance of mediation, the Settling Parties exchanged

extensive written submissions setting forth their positions with respect to liability, damages, and

other issues that impacted the risks and potential outcome of the Action.

   36.        During the initial, full-day mediation session on September 10, 2020, Co-Lead Counsel

had multiple conversations with Mr. Meyer with respect to a potential settlement. These

discussions continued throughout the day. But that initial mediation ended without a successful

resolution.

   37.        The parties scheduled a second mediation session for October 8, 2020, and exchanged

further written submissions, in advance of that date, regarding their positions on the issues in the

case. This second mediation, too, ended without a successful resolution.

   38.        Throughout fact discovery, the Settling Parties continued to engage in discussions

under the auspices of Mr. Meyer. On March 22, 2021, Mr. Meyer advised the Settling Parties that

he was prepared to provide a proposal for settlement. Subsequently, on April 6, 2021, Mr. Meyer
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advised the Settling Parties that his proposal had been accepted. The Settling Parties informed the

Court of the proposed Settlement by letter dated April 7, 2021. ECF No. 176. Following the

acceptance of Mr. Meyer’s proposal, the Settling Parties exchanged multiple drafts of the

necessary settlement papers, including the MOU, the Stipulation, and long- and short-form

Notices.

     39.     On May 24, 2021, the Settling Parties executed the Settlement, and Lead Plaintiffs filed

a motion for preliminary approval of the Settlement and supporting documents. ECF Nos. 178-80.

On June 11, 2021, the Court conducted a hearing to consider the merits of preliminary approval of

the Settlement. The Court raised several questions with respect to the Settlement and the Notices.

That same day, the Court issued an Order granting preliminary approval of the Settlement and

setting a hearing date for consideration of final approval on October 19, 2021. ECF No. 187.

                                       THE SETTLEMENT

     40.     On or by July 16, 2021, Defendants caused $27,500,000 in cash to be paid into the

Escrow Account for the benefit of the Class in accordance with the terms of the Settlement. The

Settlement Amount (plus accruing interest) provides the Class an immediate and substantial

benefit and eliminates the significant risks of continued litigation under circumstances where a

favorable outcome could not be assured. Co-Lead Counsel and Lead Plaintiffs believe that the

Settlement is fair, reasonable, and an excellent result for Class Members considering the risk of an

adverse judgment and recovering nothing or less after substantial delay.

I.   Reasons for the Settlement

     41.     Based on knowledge of the facts developed during investigation and litigation of this

Action, as well as a recognition of the substantial risks that continued litigation posed, Co-Lead

Counsel and Lead Plaintiffs determined that the Settlement was in the best interests of the Class

and thus fully endorse the Settlement. Both Lead Plaintiffs and Co-Lead Counsel have significant
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experience to make such an assessment. Lead Plaintiffs are sophisticated institutional investors

that have actively overseen the prosecution of this Action and other securities fraud class actions,

while Co-Lead Counsel comprise two national law firms that specialize in complex securities

litigation and are highly experienced in this type of litigation. See Ex. E, Cohen Milstein firm

resume; Ex. F, Scott + Scott firm resume.

    42.     The factual issues raised in this Action were complex, and the Settling Parties engaged

in meaningful, extensive discovery before beginning the mediation process, including the

production, and Co-Lead Counsel’s review, of more than 4.4 million pages of documents produced

by Defendants and of nearly 1 million pages of documents produced by non-parties (including

GreenSky’s independent auditor, PwC). Moreover, Co-Lead Counsel was well positioned to

analyze these documents because of its investigation prior to the filing of Lead Plaintiffs’ amended

complaints. Co-Lead Counsel also consulted non-testifying experts who assisted Co-Lead Counsel

in evaluating damages and loss causation issues. That the Settlement followed this informal and

formal discovery demonstrates that the Settling Parties—and Lead Plaintiffs and Co-Lead Counsel

in particular—had extensive information to properly evaluate the strengths and weaknesses of the

claims and defenses asserted in the Action, as well as the potential additional cost and duration of

the litigation if the Action did not settle.

    43.     Given such discovery and factual analysis, Lead Plaintiffs and Co-Lead Counsel had

an informed view of the factual strengths and weaknesses of the Action. Lead Plaintiffs and Co-

Lead Counsel believed, for example, that although there was evidence demonstrating materiality

and a duty to disclose (a conclusion that GreenSky vehemently disputed), it would be more difficult

to assemble evidence establishing materiality and Defendants’ duty to disclose at trial. The ability

to ultimately prove materiality and a duty to disclose was a significant risk that supported
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settlement. In addition, although Co-Lead Counsel had obtained significant documentary and

testimonial evidence showing that the Underwriter Defendants had not conducted adequate due

diligence—an affirmative defense for underwriters facing Section 11 claims—establishing that the

Underwriter Defendants had not performed adequate due diligence at summary judgment and trial

was a significant hurdle.

   44.       In addition, Co-Lead Counsel and Lead Plaintiffs also assessed the risks that they

would face in pursuing further litigation were a reasonable settlement not reached as part of

mediation. The procedural risks that remained were numerous. There remained several stages of

litigation, including summary judgment, pre-trial motions, and trial. Moreover, the Settling Parties

retained consulting experts to calculate the estimated damages in this Action and had arrived at

starkly different amounts. Defendants argued that damages calculated by their expert were merely

a fraction of the damages Lead Plaintiffs’ expert had calculated. Thus, even were Lead Plaintiffs

successful in sufficiently alleging and then demonstrating damages and loss causation 3 at summary

judgment and trial despite the numerous factual and procedural hurdles, the damages awarded

could have been reduced by various factual findings in Defendants’ favor throughout litigation and

at trial. By any measure, the $27,500,000 proposed Settlement represents a very good recovery for

the Class.

   45.       Co-Lead Counsel retained a well-regarded and experienced expert to conduct an

analysis of damages suffered by the Class. According to that expert’s analysis, the Settlement

represents nearly 14% of a realistic estimate of Lead Plaintiffs’ recoverable damages of $201.3

million, discounted for certain potential defenses (in particular negative loss causation).



   3
    Although loss causation is not an element of Lead Plaintiffs’ Securities Act claims, so-called
“negative causation,” or lack of loss causation, is an affirmative defense. 15 U.S.C. § 77k(e).
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Settlements in this range of recovery (and indeed, well below this range) have routinely received

approval by courts as representing recoveries that are fair, reasonable, and adequate. The

proposed Settlement is also well within the range of reasonableness given “all the attendant risks

of litigation,” because it will allow the Class to recover a significant portion of their damages now

rather than a possible recovery after years of uncertain litigation and a far-from- guaranteed jury

verdict. Indeed, even if Lead Plaintiffs were to obtain a favorable jury verdict that would survive

the inevitable round of appeals, there could be insufficient Company assets or insurance policy

proceeds to satisfy a substantial judgment – or fund a settlement of greater or even equal size to

the proposed Settlement – years down the road.

II. The Plan of Allocation Meets the Requirements of Due Process and Rule 23 of the
    Federal Rules of Civil Procedure

   46.     The proposed Plan of Allocation was prepared with the assistance of Lead Plaintiffs’

consultant, Jeremy Marmer, PhD, CFA, of Global Economics Group, described supra ¶ 7, who

has significant experience in drafting plans of allocation. The Plan of Allocation provides a fair

and rational basis for Class Members to recover their pro rata share of the Net Settlement Fund

for all shares of GreenSky Class A common stock purchased pursuant and/or traceable to the IPO

according to the formula set forth in the Notice. See ECF No. 180-2 ¶¶ 24-38.

   47.     The Plan of Allocation provides a reasonable, rational basis for Class Members to

recover their pro rata share of the Net Settlement Fund based upon the dates of their GreenSky

Class A common stock transactions. In particular, the Plan of Allocation allocates losses to all

purchases through the date of suit pursuant or traceable to the IPO as follows:

   (a)     if sold before the opening of trading on November 12, 2018, the Recognized Loss for

           each such share shall be the purchase price (not to exceed the issue price at the offering

           of $23.00) minus the sale price;
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    (b)     if sold after the opening of trading on November 12, 2018, through the close of trading

            on August 5, 2019, the Recognized Loss for each such share shall be the purchase price

            (not to exceed the issue price at the offering of $23.00) minus the sale price (not to be

            less than $9.92, the closing share price on November 12, 2018); or

    (c)     if retained through the close of trading on August 5, 2019, the Recognized Loss for

            each such share shall be the purchase price (not to exceed the issue price at the offering

            of $23.00) minus $9.92, the closing share price on November 12, 2018.

    48.     The proposed Plan of Allocation is also fair and reasonable because, for Class Members

who purchased or acquired shares of GreenSky Class A common stock pursuant or traceable to

the IPO, the Plan of Allocation calculates damages based on the methodology set forth in the

Securities Act. See 15 U.S.C. § 77k(e) (limiting damages to the difference between the purchase

price paid per share and either the value of the shares at the time the suit was brought, the price at

which the shares were sold in the market before suit, or the price at which the shares were sold

after suit but before judgment if less than the difference between the purchase price and value of

the shares at the time of suit).

III. Notice to the Class Meets the Requirements of Due Process and Rule 23 of the Federal
     Rules of Civil Procedure

    49.     As required by the Court’s Preliminary Approval Order, the Claims Administrator,

Epiq Class Action & Claims Solutions, Inc. (“Epiq”), a highly-experienced class action claims

administrator, notified potential Class Members of the Settlement by mailing a copy of the Notice

to potential Class Members by the deadline of July 2, 2021. See Ex. G, Declaration of Alexander

Villanova (“Epiq Decl.”).

    50.     As of today, Epiq has disseminated 14,318 copies of the Notice and Proof of Claim

Form to potential Class Members and their nominees. Id., ¶ 10.
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   51.     In addition, a Summary Notice was published once in the Investor’s Business Daily on

July 12, 2021, and disseminated on PR Newswire the same day. See id., ¶ 11. Information

regarding the Settlement, including downloadable copies of the Notice and Proof of Claim Form,

was also posted on the website established by the Claims Administrator specifically for this

Settlement and referenced in the Notice, www.GreenSkySecuritiesLitigation.com, id., ¶¶ 14-15,

and Co-Lead Counsel posted a link on Cohen Milstein’s website, www.cohenmilstein.com,

connecting it to the Claims Administrator’s website designated for the Settlement. This method of

giving notice, previously approved by the Court, is appropriate because it directs notice in a

“reasonable manner to all class members who would be bound by the propos[ed judgment].” Fed.

R. Civ. P. 23(e)(1).

   52.     The Notice advises Class Members of the essential terms of the Settlement, sets forth

the procedure for objecting to or opting out of the Settlement, and provides specifics on the date,

time and place of the Final Approval Hearing. The Notice also contains information regarding Co-

Lead Counsel’s fee application and the Plan of Allocation.

   53.     As explained in the accompanying Memorandum of Law in Support of Lead Plaintiffs’

Motion for Final Approval of the Proposed Settlement and Approval of the Plan of Allocation, the

Notice fairly apprises Class Members of their rights with respect to the Settlement and therefore

is the best notice practicable under the circumstances and complies with the Court’s June 11, 2021

Preliminary Approval Order (ECF No. 187), Federal Rule of Civil Procedure 23, and due process.

     THE APPLICATION FOR ATTORNEYS’ FEES AND REIMBURSEMENT OF
                             EXPENSES

   54.     In addition to seeking final approval of the Settlement and Plan of Allocation, Co-Lead

Counsel is also applying to the Court for an award of attorneys’ fees, reimbursement of Litigation

Expenses, and reimbursement of Lead Plaintiffs’ costs and expenses pursuant to 15 U.S.C. § 77z-
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1(a)(4). Specifically, Co-Lead Counsel is applying for a fee of 25% of the Settlement Fund, i.e.,

$6,875,000, plus interest at the same rate as that earned on the Settlement Fund; reimbursement of

$200,786.46 in Co-Lead Counsel’s Litigation Expenses; and reimbursement of $16,092.70 for

Lead Plaintiffs’ costs and expenses (including lost wages) pursuant to 15 U.S.C. § 77z-1(a)(4).

I.   Application for Attorneys’ Fees

           The Time and Labor Expended by Co-Lead Counsel

     55.     We and other experienced attorneys and professionals, whose work we supervised,

devoted substantial time to litigating this Action. Listed here at ¶¶ 55 and 72 are schedules that

summarize Co-Lead Counsel’s lodestar, as well as the expenses incurred by category (the “Fee

Schedules” and “Expense Schedules,” respectively). The Fee Schedules indicate the amount of

time spent by each attorney and other professional employed by Co-Lead Counsel, and the lodestar

calculations based on their current billing rates. The Fee Schedules were prepared from

contemporaneous daily time records regularly prepared and maintained by our firms. For attorneys

or other professionals who are no longer employed by Co-Lead Counsel, the lodestar calculations

are based upon the billing rates for such persons in their final year of employment.
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Cohen Milstein Sellers & Toll PLLC Lodestar, Inception through August 31, 2021

                                    Hours      Current Rate   Lodestar
Partners
Bunch,           S. Douglas         906.75     $740           $670,995.00
Dominguez,       M. John            62.00      $890           $55,180.00
Toll,            Steven J.          406.50     $1,125         $457,312.50
Total Partner Lodestar              1375.25                   $1,183,487.50

Of Counsel
Maser,           David              16.50      $675           $11,137.50
Total Of Counsel Lodestar           16.50                     $11,137.50

Associates
Buttrick,        Alice              187.00     $495           $92,565.00
Dreschel,        Allen              46.00      $495           $22,770.00
Kim,             Jessica            636.25     $585           $372,206.25
Messerschmidt,   Jan                401.00     $585           $234,585.00
Total Associate Lodestar            1270.25                   $722,126.25

Staff Attorneys
Dumas,            Robert            790.75     $575           $454,681.25
Mehta,            Kalpish           120.25     $455           $54,713.75
Sulaiman,         Nada              247.25     $470           $116,207.50
Wallace,          Lyzette           275.25     $455           $125,238.75
Williams,         Kamilah R.        395.50     $525           $207,637.50
Total Staff Attorney Lodestar       1829.00                   $958,478.75

Paralegals
Bleiweis,         Robin             7.00       $290           $2,030.00
Burner,           Richard           9.25       $300           $2,775.00
Hainbach,         Samuel            6.50       $300           $1,950.00
Kluger,           Joshua            178.50     $325           $58,012.50
Mullins,          Marie             7.50       $310           $2,325.00
Sebastian,        Monica            29.50      $325           $9,587.50
Taylor,           Aaron             44.75      $300           $13,425.00
Total Paralegal Lodestar            283.00                    $90,105.00

Investigators
Blasse,           Emilio            295.00     $525           $154,875.00
Total Investigator Lodestar         295.00                    $154,875.00

Securities Analyst
Greenwood,        Susan             15.50      $700           $10,850.00
Total Securities Analyst Lodestar   15.50                     $10,850.00

Total Lodestar                      5084.50                   $3,131,060.00
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Scott + Scott Attorneys at Law LLP Lodestar, Inception through August 31, 2021

                                  Hours               Current Rate    Lodestar
Partners
Broggi,          Donald           76.20               $1,095          $83,439.00
Burnett,         Michael          72.30               $1,095          $79,168.50
Laughlin,        Thomas           53.10               $995            $52,834.50
Schwartz,        Max              504.30              $995            $501,778.50
Scott,           David            20.10               $1,295          $26,029.50
Total Partner Lodestar            726.00                              $743,250.00

Associates
Cunningham,      Hal              7.80                $750            $5,850.00
Jacobson,        Jeffrey          77.40               $550            $42,570.00
McCabe,          Lauren           456.70              $725            $331,107.50
Swartz,          Rhiana           24.40               $750            $18,300.00
Total Associate Lodestar          566.30                              $397,827.50

Staff Attorneys
Cunningham,       Nga             245.50              $650            $159,575.00
Porter,           Melanie         429.50              $625            $268,437.50
Total Staff Attorney Lodestar     675.00                              $428,012.50

Paralegals
Hogan,            Kelly           15.00               $395            $5,925.00
Steinberger,      Kaitlin         8.30                $395            $3,278.50
Total Paralegal Lodestar          23.30                               $9,203.50

Production Support
Torres,           Charlie         8.40                $395            $3,318.00
Total Production Support Lodestar 8.40                                $3,318.00

Research Assistant
Gatzke,          Dylan            9.60                $395            $3,792.00
Total Research Assistant Lodestar 9.60                                $3,792.00

Total Lodestar                    2008.60                             $1,585,403.50

   56.     Co-Lead Counsel took this Action on a contingency basis, fully committed our firms’

resources, and then aggressively litigated it over the course of two years without any compensation

or guarantee of success.
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           The Magnitude and Complexity of the Action

   57.       The claims in this Action presented multiple complex issues. Prosecuting this Action

required obtaining and analyzing a large body of evidence. As detailed above, the pre-filing

investigation undertaken without subpoena power was a daunting and difficult undertaking. The

complexity was no less significant during the formal discovery stage. As detailed throughout, the

vast volume of documents produced in this Action added to its complexity especially given the

relatively short period of time within which we needed to review, analyze and synthesize millions

of pages of materials. Moreover, the issues of materiality, falsity, loss causation, and damages

were, and would continue to be, complex and contentious issues in this Action as is evidenced by

the vast differences between the positions taken by the Settling Parties and their respective experts.

These issues required consultation with loss causation and damages experts.

   58.       The magnitude and complexity of the legal issues is evidenced by the extensive filings

already in the record. Defendants filed lengthy, multi-issue motions to dismiss the SAC. Lead

Plaintiffs were required to address and refute each of the arguments relating to falsity, materiality,

and standing. Co-Lead Counsel undertook to create a compelling record in the face of all of these

complexities, with a goal of proving Defendants’ liability—not a light burden.

           The Risks of Litigation and the Need to Ensure the Availability of Competent
           Counsel in High-Risk, Contingent Securities Cases

   59.       As noted above, the Action was undertaken on a wholly contingent basis. From the

outset, we understood that this Action would be a complex and expensive litigation with no

guarantee of compensation for the investment of time, money, and effort that the Action would

require.

   60.       In undertaking the responsibility of prosecuting the Action, Co-Lead Counsel ensured

that sufficient attorney resources were dedicated to the investigation of the claims against
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Defendants and that sufficient funds were available to advance the expenses required to pursue

and complete such complex litigation. As set forth below, Co-Lead Counsel received no

compensation and, in total, incurred $200,786.46 in expenses in prosecuting this Action for the

benefit of the Class.

   61.     Co-Lead Counsel also bore the risk that no recovery would be achieved. As discussed

herein, this Action presented a number of risks and uncertainties which could have prevented any

recovery whatsoever. Despite the vigorous and competent efforts of Co-Lead Counsel, success in

contingent-fee litigation, such as this, is never assured.

         Standing and Expertise of Co-Lead Counsel, and Standing and Caliber of
         Opposing Counsel

   62.     The expertise and experience of counsel are other important factors in setting a fair fee.

As demonstrated by Co-Lead Counsel’s firm resumes, the attorneys at Cohen Milstein and Scott

+ Scott are experienced and skilled class action securities litigators and have a successful track

record in securities cases throughout the country—including within this Circuit. See Ex. E (Cohen

Milstein firm resume); Ex. F (Scott + Scott firm resume).

   63.     The quality of the work performed by counsel in attaining the Settlement should also

be evaluated in light of the quality of opposing counsel. Co-Lead Counsel was opposed in this

Action by very skilled counsel. The GreenSky Defendants and the Underwriter Defendants were

represented by highly respected firms, each of which has significant experience in defending

complex litigation in general and securities litigation in particular: Cravath, Swaine & Moore LLP,

Susman Godfrey LLP, and Willkie Farr & Gallagher LLP.

         Lead Plaintiffs’ Approval and the Reaction of the Class to Date

   64.     As set forth in their declarations, Lead Plaintiffs have been directly involved at each

stage of litigation by reviewing pleadings and briefs in the Action, as well as reviewing and
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deciding issues that came up during mediation and subsequent settlement negotiations. See

Northeast Carpenters Decl. ¶ 6; El Paso Decl. ¶ 6; CPERS Decl. ¶ 6.

   65.      Also, as set forth in the Epiq Declaration, 14,318 Notices have been disseminated to

potential Class Members and their nominees. Epiq Decl. ¶ 10. In addition, the Summary Notice

was published in the Investor’s Business Daily and disseminated on PR Newswire. See id., ¶ 11.

Both the Notice and Summary Notice were published on a dedicated settlement website,

www.GreenSkySecuritiesLitigation.com, to which Cohen Milstein’s website is also linked. The

Notice explains the Settlement and Co-Lead Counsel’s anticipated fee request. The deadline to

object to Co-Lead Counsel’s fee request is September 28, 2021. To date, no Class Member has

objected.

   66.      Likewise, the Notice informed Class Members that the deadline to request exclusion

from the Class is September 28, 2021. To date, only four unique requests for exclusion have been

received by the Claims Administrator. Epiq Decl. ¶ 17. The overwhelming approval of the Class

to date further supports Co-Lead Counsel’s request.

         The Requested Fee of 25% in Relation to the Settlement

   67.      Co-Lead Counsel is applying for compensation from the Settlement Fund on a

percentage basis. As set forth in the accompanying Memorandum of Law in Support of Co-Lead

Counsel’s Motion for an Award of Attorneys’ Fees, Reimbursement of Litigation Expenses, and

Reimbursement of Lead Plaintiffs’ Costs and Expenses (“Fee Memorandum”), the percentage

method is an appropriate method of fee recovery because, among other things, it aligns the

lawyers’ interest in being paid a fair fee with the interest of the Class in achieving the maximum

recovery in the shortest amount of time required under the circumstances, is supported by public

policy, and has been recognized as appropriate by the U.S. Supreme Court for cases of this nature.

Moreover, as further described in the Fee Memorandum, various district courts in the Second
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Circuit have granted an award of fees at or above the percentage that Co-Lead Counsel requests

herein.

   68.      Based on the result achieved for the Class, the extent and quality of work performed,

the risks of the litigation and the contingent nature of the representation, Co-Lead Counsel submits

that a 25% fee award is justified and should be approved. Lead Plaintiffs, who are sophisticated

institutional investors, approve of Co-Lead Counsel’s fee request. See Northeast Carpenters Decl.

¶ 10; El Paso Decl. ¶ 10; CPERS Decl. ¶ 10.

   69.      As discussed in the Fee Memorandum, a 25% fee award is fair and reasonable for

attorneys’ fees in common fund cases such as this, and is within the range of the percentages

awarded in securities class actions in this Circuit.

   70.      As described in Co-Lead Counsel’s Fee Memorandum, the requested fee is fair and

reasonable under both the percentage approach and a lodestar analysis.

          Application for Reimbursement of Expenses

   71.      Co-Lead Counsel also seeks reimbursement of Litigation Expenses reasonably incurred

by Co-Lead Counsel in connection with commencing and prosecuting the claims against

Defendants over the course of two years. The Notice apprised potential Class Members that Co-

Lead Counsel would be seeking reimbursement of expenses in an amount not to exceed $250,000.

See Epiq Decl. Ex. A ¶ 6. The amount of the reimbursement actually requested is less than what

was stated in the Notice and, to date, no objection has been raised to Co-Lead Counsel’s request

for reimbursement of Litigation Expenses.

   72.      As set forth in the Expense Schedules below, Co-Lead Counsel has incurred a total of

$200,786.46 in unreimbursed Litigation Expenses through the date of the accompanying motion,

in connection with the prosecution of this Action. These expenses were all reasonably and

necessarily incurred in connection with the prosecution of this Action on behalf of the Class and
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are reflected on the books and records maintained by Co-Lead Counsel. These books and records

are prepared from expense vouchers, check records, and other source materials, and are an accurate

record of the expenses incurred.

Cohen Milstein Sellers & Toll PLLC Expenses

 Expense Type                                                     Cost
 Photocopying                                                     $2.00
 Telephone/fax                                                    $453.14
 Courier                                                          $15.95
 FedEx delivery                                                   $1,168.24
 Court/filing fees                                                $1,761.72
 Process server fees                                              $2,347.00
 Court transcripts                                                $174.58
 Deposition transcripts/videography                               $20,160.95
 LEXIS/Westlaw/PACER/online research                              $5,276.39
 Document management/litigation support                           $98,985.69
 Travel                                                           $3,068.95
 Damages experts/consultants                                      $48,528.75
 Mediation                                                        $15,602.74
 Overtime meals                                                   $25.00
 Total Litigation Expenses                                        $197,571.10

Scott + Scott Attorneys at Law LLP Expenses

 Expense Type                                                     Cost
 Photocopying                                                     $192.25
 Telephone/fax                                                    $111.90
 Court transcripts                                                $1,095.90
 LEXIS/Westlaw/PACER/online research                              $1,565.31
 Document management/litigation support                           $250.00
 Total Litigation Expenses                                        $3,215.36

   73.     From the beginning of the Action, Co-Lead Counsel were aware that we might not

recover any of our expenses, and would not recover anything until the Action was partially or fully

resolved. Co-Lead Counsel also understood that, even assuming that the Action was ultimately

successful, reimbursement of expenses would not compensate us for the lost use of the funds
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advanced to prosecute the Action. Thus, Co-Lead Counsel was motivated to, and did, take

significant steps to minimize expenses whenever practicable without jeopardizing the vigorous

and efficient prosecution of the Action.

   74.     The Litigation Expenses for which Co-Lead Counsel seek reimbursement were largely

incurred for professional fees, including the costs of experts, consultants, and document

management. Lead Plaintiffs’ experts on damages provided substantial assistance to Co-Lead

Counsel in the prosecution and resolution of this Action. This included assisting Co-Lead Counsel

in connection with mediation, damages models, the Plan of Allocation, and the Settlement.

   75.     The other expenses for which Co-Lead Counsel seek reimbursement are also the types

of expenses that are necessarily incurred in litigation and routinely charged to clients billed by the

hour. These expenses include, among others, long distance telephone and facsimile charges,

courier and delivery expenses, computerized research, overtime expenses, filing fees, and

photocopying.

   76.     All of the Litigation Expenses incurred, which total $200,786.46, were necessary to the

successful prosecution and resolution of the claims against Defendants. In view of the complex

nature of the Action, the expenses incurred were reasonable and necessary to pursue the interests

of the Class. Accordingly, we respectfully submit that the Litigation Expenses incurred by Co-

Lead Counsel should be reimbursed in full.

II. Application for Reimbursement of Lead Plaintiffs’ Expenses

   77.     Included in Co-Lead Counsel’s request for reimbursement of Litigation Expenses is a

request for reimbursement of Lead Plaintiffs’ reasonable costs and expenses (including lost wages)

pursuant to 15 U.S.C. § 77z-1(a)(4), in recognition of Lead Plaintiffs’ contribution to the

prosecution and successful resolution of this securities class action. In particular, Northeast

Carpenters requests $4,103.20 (Northeast Carpenters Decl. ¶ 13); El Paso requests $1,891.76 (El
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Paso Decl. ¶ 13); and CPERS requests $10,097.74 (CPERS Decl. ¶ 13), for a total of $16,092.70.

These costs were reasonably incurred by the staff of Lead Plaintiffs and were directly related to

the representation of the Class, including, but not limited to: (i) regularly communicating with Co-

Lead Counsel regarding the posture and progress of the Action; (ii) reviewing and/or discussing

all significant pleadings and motions filed in the Action; (iii) giving extensive deposition

testimony; (iv) searching for, reviewing, and producing documents requested by Defendants; (v)

reviewing and/or discussing significant decisions in the Action, including the decisions to mediate

and settle the case; and (vi) actively participating in the mediation that led to the Settlement. See

Northeast Carpenters Decl. ¶ 6; El Paso Decl. ¶ 6; CPERS Decl. ¶ 6. Accordingly, we respectfully

submit that the costs and expenses reasonably incurred by Lead Plaintiffs should be reimbursed in

full. To date, moreover, no Class Member has objected to Lead Plaintiffs’ request for

reimbursement.

   We declare, under penalty of perjury, that the foregoing facts are true and correct.



 Dated: September 14, 2021                            /s/ Steven J. Toll
                                                   Steven J. Toll


                                                     /s/ Max Schwartz
                                                   Max Schwartz
